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                                                                                                                  B”H
                                                  Ari B. Teman


                                                                                          Friday, 30 September 2022
                                                                                                      5 Tishrei, 5783
Re: Emergency Motion to Modify Bond Conditions
      (Assisting with Hurricane recovery, Mailing Books to Prisoners, Medical Travel)

Your Honor,

The defendant hereby respectfully motions for modification of bond conditions.

The Defendant initiated a project to send Jewish books to prisoners. For example, Defendant worked for the
past half-year (approximately) to get permission from Rabbi Joseph Telushkin to have his "Jewish Wisdom"
book (ISBN-13 ‫‏‬: ‎978-0688129583)1 issued as a paperback so that it could be mailed to prisoners (hardcover
books are often banned for safety reasons) and for Harper Collins to agree as well to print a paperback edition
and to offer extremely low cost printing of the books so that thousands may be sent. (To be clear, the delays
were due to tracking down the right folks at the publisher for a book published in 1994, and not at all due to
Rabbi Telushkin who was eager and excited to help.). The book is an excellent almanac of general Jewish
values and practices, which can help inspire and encourage Jewish prisoners and those curious about Jewish
beliefs (perhaps also helping to counter some of the extreme antisemitism known to be found in this nation's
jails and prisons).

However, the next step, mailing the books, could be considered a violation of current bond conditions which
place restrictions on communication with people who may be given labels by the criminal justice system or who
may be imprisoned.

Further, and what makes this motion an Emergency motion, is the defendant also motions to remove travel
restrictions from his bond conditions so that he may lead a group of JCorps volunteers in Eastern Florida
following Hurricane Ira, as he did during Hurricane Sandy (
https://www.chabad.org/news/article_cdo/aid/2030918/jewish/Hurricane-Relief-from-Chabad-of-Midtown-and-J
Corps.htm ), and after the Surfside Collapse one year ago. It would be impractical and impossible to update
location information in areas where power and cellular service may be out over the next weeks. JCorps plans
to work together with local, state, and international organizations. The defendant is the founder of JCorps and
has demonstrated over the years a unique skill and experience in handling emergencies of this nature and
coordinating volunteers, as well as assisting rescuers.

In the interest of efficiency, Defendant also informs the court that he has certain medical procedures and check
ups which are by doctors who practice in Northern New Jersey (Defendant is from Teaneck) and Defendant
respectfully requests that he be able to travel to New Jersey for medical procedures and to visit family and
participate in Jewish events. Defendant respectfully requests that New Jersey New added to the list of allowed
jurisdictions so that Defendant (a) doesn't need to upload personal medical information and (b) can rest and
recover by a family or friend or local hotel rather than fly back and forth repeatedly.

Therefore, the defendant respectfully motions to have his bond conditions altered to (a.) allow the mailing of
books to prisoners directly or indirectly (such as through a nonprofit organization), of course within the rules
and policies of those prisons and jails, (b.) to be able to travel throughout all of Florida, and (c.) to be able to
travel throughout all of New Jersey.
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    https://www.goodreads.com/book/show/103476.Jewish_Wisdom
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The defendant wishes Your Honor and Mr. Gutwillig a Shana Tova and Gmar Tuv. As the Rabbis wrote to your
Honor in Dkt. No. 326, may this year, 5783, be one where you connect with the Jewish values and laws our
ancestors fought so hard to pass down to us, including those relating to judging and prosecuting fairly. Now is
always the right time to do the right thing.2

Thank you,




Ari Teman defendant Pro Se




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    My appellate counsel reviewed this motion and made a few suggestions I have considered.
